Case 2:20-cv-02874-AB-SK Document 52 Filed 07/06/20 Page 1 of 2 Page ID #:545



 1   George M. Lee (SBN 172982)
     gml@seilerepstein.com
 2
     SEILER EPSTEIN LLP
 3   275 Battery Street, Suite 1600
 4   San Francisco, California 94111
     Phone: (415) 979-0500
 5   Fax: (415) 979-0511
 6
     Raymond M. DiGuiseppe (SBN 228457)
 7   law.rmd@gmail.com
 8   THE DIGUISEPPE LAW FIRM, P.C.
     4320 Southport-Supply Road, Suite 300
 9
     Southport, North Carolina 28461
10   Phone: (910) 713-8804
11   Fax: (910) 672-7705

12   Attorneys for Plaintiffs
13
14                           UNITED STATES DISTRICT COURT

15                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     ADAM BRANDY, an individual, et al.,                  Case No. 2:20-cv-2874
17
18                         Plaintiffs,                    PLAINTIFFS’ NOTICE OF VOLUNTARY
                                                          DISMISSAL OF DEFENDANTS JUSTIN
19         vs.                                            HESS AND CITY OF BURBANK,
20                                                        CALIFORNIA
21   ALEX VILLANUEVA, in his official                     [FRCP 41(a)(1)(A)(i)]
22   capacity as Sheriff of Los Angeles
     County, California, and in his capacity as
23   the Director of Emergency Operations, et
24   al.,
25                          Defendants.
26
27
28   //

                                                     –1–
           NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANTS JUSTIN HESS, AND CITY OF BURBANK, CALIFORNIA
                                              CASE NO. 2:20-cv-2874
Case 2:20-cv-02874-AB-SK Document 52 Filed 07/06/20 Page 2 of 2 Page ID #:546



 1   NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANTS JUSTIN HESS
                 AND CITY OF BURBANK, CALIFORNIA
 2
 3         PLEASE TAKE NOTICE that pursuant to Rule 41(a)(1)(A)(i) of the Federal
 4   Rules of Civil Procedure, Plaintiffs Adam Brandy, Jonah Martinez, Daemion
 5   Garro, DG2A Enterprises Inc., d.b.a. Gun World, Jason Montes, Weyland-Yutani
 6   LLC d.b.a. Match Grade Gunsmiths, Alan Kushner, The Target Range, Tom Watt,
 7   A Place To Shoot, Second Amendment Foundation, California Gun Rights
 8   Foundation, National Rifle Association of America, and Firearms Policy Coalition,
 9   Inc. (“Plaintiffs”) hereby file this Notice of Voluntary Dismissal, without
10   prejudice, as to Defendant Justin Hess, sued in his official capacity as the City
11   Manager and the Director of Emergency Services for the City of Burbank; and as
12   to Defendant City of Burbank, California.
13
14    Dated: July 6, 2020                           SEILER EPSTEIN LLP
15
16                                                  /s/ George Lee
                                                    George M. Lee
17
18                                                  Attorney for Plaintiffs

19
20
21
22
23
24
25
26
27
28

                                                     –2–
           NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANTS JUSTIN HESS, AND CITY OF BURBANK, CALIFORNIA
                                              CASE NO. 2:20-cv-2874
